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VIA CM/ECF

April 3, 2020

Hon. Thomas J. McAvoy
United States District Judge
United States District Court for the
 Northern District of New York
U. S. Courthouse and Federal Building
15 Henry Street
Binghamton, New York 13901

Re:    John Doe v. Syracuse University
       Civil Action No. 17-cv-0787-TJM-ATB

       Letter Request to Withdraw as Counsel

Dear Judge McAvoy:

We represent the defendant in the above action. I write to request that the Court issue an order allowing
me to withdraw from the case pursuant to Local Rule 83.2(b). I have accepted an in-house counsel
position and today, April 3, is my last day with Ward Greenberg Heller & Reidy, LLP. My partner,
Thomas D’Antonio, has been the lead counsel on this case since inception and will remain as counsel
for the University. My withdrawal will not result in any delay in this action. I have informed the
University of my career transition. Accordingly, I respectfully request that an order be issued allowing
me to withdraw as counsel in this action.

We thank the Court for its attention to this request.

Respectfully,

/s Jeffrey D. Casey

Jeffrey D. Casey

Joshua Engel, Esq. (Via CM/ECF)
(Attorneys for plaintiff)




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